C-13-15(ECF)
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(Rev. 3/22)
                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA


In Re:                                                   )
                                                         )                              MOTION
CORBETT, MYA DEIONSHAI                       XXX-XX-3117 )                            CHAPTER 13
1183 UNIVERSITY DR #105227                               )
BURLINGTON, NC 27215                                     )                       No: 22-10293                 C-13G
                                                         )
                                             Debtor(s)   )


The undersigned Standing Trustee respectfully moves the Court for a hearing on the following:

        This plan was scheduled for a Meeting of Creditors on July 11, 2022. The Debtor has failed to pay the filing
fee and the Debtor has also failed to file the Summary of Assets and Liabilities and Certain Statistical Information -
Form B 106 that was due by June 22, 2022. The Debtor failed to appear at the Meeting of Creditors on July 11, 2022
and has defaulted in required plan payments as of July 11, 2022. The Meeting of Creditors was continued to July 25,
2022. The Trustee recommends the Debtor be dismissed from Chapter 13 for failure to have the Meeting of
Creditors concluded or for default in required plan payments. The Trustee further recommends that should the case
be dismissed prior to confirmation that the Trustee be allowed to retain from any funds received in the case noticing
costs plus $125.00 to credit toward expenses.




Date: July 13, 2022                                                                       s/Anita Jo Kinlaw Troxler
AJKT: lj                                                                                  Standing Trustee
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                       NOTICE TO INTERESTED PARTIES OF HEARING ON MOTION

You are notified that the foregoing matter will be heard before this Court on July 26, 2022, at 3:00 pm in
Courtroom #1, Second Floor, 101 S. Edgeworth Street, Greensboro, NC 27401, at which time you may appear
and offer your evidence. If you fail to appear, the motion may be taken as true and an Order entered
accordingly.



Date: July 13, 2022                                                                       OFFICE OF THE CLERK
                                                                                          U.S. Bankruptcy Court
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                               PARTIES TO BE SERVED
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ANITA JO KINLAW TROXLER
STANDING TRUSTEE
PO BOX 1720
GREENSBORO NC 27402-1720

MYA DEIONSHAI CORBETT
1183 UNIVERSITY DR #105227
BURLINGTON, NC 27215
